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   8   Attorneys for Plaintiff Leslie A. Kelly,
       an individual and dba Les Kelly Publications,
   9   Les Kelly Enterprises, and Show Me The Gold



                            UNITED STATES DISTRICT COURT

                            CENTRAL DISTRICT OF CALIFORNIA



  14   LESLIE A. KELLY, an individual )
       and doing business as Les Kelly)
  15   Publications, Les Kelly         )         COMPLAINT FOR:
       Enterprises, and Show Me The    )
  16   Gold,                          )          1. COPYRIGHT INFRINGEMENT;
                                           )
  17                     Plaintiff,        )     2. VIOLATION OF THE DIGITAL
                                           )        MILLENNIUM COPYRIGHT ACT;
  18   vs.                                 )
                                           )     3. UNFAIR COMPETITION UNDER
  19                                       )        FEDERAL LAW
       ARRIBA SOFT CORPORATION, an    )
  20   Illinois Corporation; and DOES )          4. UNFAIR COMPETITION UNDER
       1 through 10 ' , inclusive,    )             STATE LAW
  21                                       )
                         Defendants.       )     5. DECLARATORY RELIEF
  22                                       )
       ______________________________ )          JURY TRIAL DEMANDED
  23
               COMES NOW,    Plaintiff Leslie A . Kelly,       an individual and
  24
       doing business as Les Kelly Publications, Les Kelly Enterprises,
  25
       and Show Me The Gold ("plaintiff") and alleges as follows:
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     1                                                  PREFACE

     2               1.          Plaintiff         is    a    photographer and publisher who
     3      maintains two web sites containing copyrighted photographs of
     4      California's      Gold         Rush    Country        ("www.showmethegold.com"             and

     5      "www.goldrush1849.com").                   Defendant,       Arriba Soft Corporation,
     6      owns and operates a free internet image search service called the
     7      "ArribaVista     Image Searcher"                 which locates visual            images and
     8      photographs on the internet ("www.arribavista.com").                               The image

     9      service engine is part of defendant's overall marketing effort

    10      for   "Arriba Express,"           an image file and storage system which

    11      incorporates software that will collect or "vacuum" all images
    12      from a targeted web site.
    13               2.          In    or     about          January    1999,     in       violation    of
    14      plaintiff's      copyright            notices,        defendant       vacuumed       various
    15      photographs from plaintiff's web sites and posted them on its

    16      www.arribavista.com             web    site.          The    images    were       stored    as
    17      individual "jpg" files,               identified with a specific file number
    18      and     surrounded        by    banner       advertising.           Defendant        removed
    19      plaintiff's copyright management information.                         Users were able to
    20      download      plaintiff's         photographs          without      gaining       access    to
    21      plaintiff's web sites.                The images could be downloaded into the
    22      Arriba Express media management product by simply clicking a

    23 II   button located on the search results page.                       Thus, the combination

    2411    of ArribaVista search engine and                      Arriba Express enabled users

    2511    rapidly to capture, view, edit, organize and re-use media files

    2611    without permission from or compensation to copyright owners.

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     1                                         JURISDICTION

     2            3.         This Court has jurisdiction of this matter,                         and
     3   the parties, pursuant to U. S.C. §§1332 and 1338.                          The amount in
     4   controversy,     exclusive       of      interest     and    costs,         exceeds     Ten
     5   Thousand Dollars ($10,000).
     6                                           PARTIES

     7            4.         Plaintiff is,        and at all times herein mentioned

     8   was,    an individual residing in the County of Orange,                           State of
     9   California and doing business under the                     fictitious           names Les
    10   Kelly Publications, Les Kelly Enterprises, and Show Me The Gold.
    11            5.         Plaintiff is informed and believe,                      and thereon
    12   alleges, that defendant ARRIBA SOFT CORPORATION is a corporation
    13   duly organized and existing under                   the   laws   of        the   State of
    14   Delaware with its principal place of business located at 200 East
    15   Fifth     Avenue,       Suite         108,       Naperville,       Illinois           60563
    16   ("Defendant").        Plaintiff is informed and believes, and thereon
    17   alleges, that on or about March 1997, defendant was qualified to
    18   do business within the State of California.
    19            6.         Defendants,        Does 1 through 10 ,            inclusive,        are
    20   sued herein under fictitious names and capacities because their
    21   identities are unknown to plaintiff.                   When the true names and
    22   capacities are ascertained, plaintiff will amend this complaint
    23   by inserting the same herein.                Each and every allegation of this
    24   complaint     which    charges        defendant     shall   also      charge       Does   1
    25   through 100, inclusive and each of them.
    26            7.         Defendants, and Does 1 through 10 . , inclusive, and
    27   each of them, at all times mentioned in this complaint, were the
    28   agents and employees of the co-defendants and in doing the things

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  111    hereinafter alleged or acting within the course and scope of such

  2 II   agency    and        with    the     permission       and    consent    of    their     co-

  3      defendants.
  4               FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

  511             8.            Beginning in 1993, plaintiff took photographs of
  611    the natural scenery and landmarks of the California gold rush

  711    country in Northern California and along the California Trail,

  8      from Missouri to California.                  Plaintiff collected his works in a

  9      book,    entitled California Gold Rush Country (1848-1998), which

 10 II   was published in March 1997.                   On December 11,         1998, plaintiff

 1111    registered both the photographic images and the text of the book

 12 II   with the U.S. Copyright Office (Reg. No. VA 925-927)

 13 II            9.            Beginning in 1988, plaintiff provided photographs

 14 II   for books          about    Laura    Ingalls Wilder,         author of       the    "Little

 15 II   House" books.         Plaintiff's works were published in various books,

 1611    such as The Little House Guidebook                     (Reg. No. VA 789-705),           The

 1711    1997 Laura Ingalls Wilder Country Engagement Book (Reg. No. VA

 1811    754-393),      and Little House Country: A Photo Guide To The Home

 1911    Sites of Laura Ingalls Wilder                  (Reg. No.      TX 2886-550)         with the
 20 II   permission of plaintiff.

 2111             10.           In    or     about   1997,     and    continuing      thereafter,

 22 II   plaintiff maintained a web site on the global                           communications

 23 II   network       or     "internet"       under     the    domain    name    "www. goldrush

 24 II   1849. com."          Through this web site,            and to encourage users to

 25 II   purchase       his    book,       Gold Rush        Country   (1848-1998),      plaintiff

 26 II   provided a virtual             tour of the Gold Rush Country by posting

 2711    several copyrighted photographs which appear in his book.                               The

 2811    web site enables users to order the book directly from plaintiff.

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   111    Users    could also      order a        companion book,          entitled Traveling

  2 II    California's Gold Rush Country.                  Plaintiff does not sell the

  3 II    photographs individually to the general public.

  4 II             11.        In   or     about    1997,    and   continuing        thereafter,

   511    plaintiff maintained a separate web site under the domain name

   611    "www.showmethegold.com."           This web site was used to package and

   711    market corporate retreats in California's gold rush country under

   8 II   the service mark "SHOW ME THE GOLD"                   Tours.       Like plaintiff's

   9 II   other    web    site,    this    web     site    contains    various      copyrighted

 lOll     photographs belonging to plaintiff to encourage users to purchase

 1111     the corporate retreat product.

 12 II             12.       On or about           January 16,     1998,      plaintiff   first

 13 II    coined the phrase         "SHOW ME THE GOLD"            in connection with his

 1411     business.      The phrase was first adopted and used in commerce in

 1511     connection with providing corporate tours on or about February

 16 II    13,   1998.      Plaintiff has          filed an application with the U.S.

 1711     Patent and Trademark Office to register the phrase as a service

 1811     mark under federal law.

 1911              13.       Both of plaintiff's web sites include plaintiff's

 2011     service mark.       The service mark and other photographic images

 2111     appearing on plaintiff's two web site are in the form of "jpeg"

 22 II    files which are graphic files.
 23                14.       Defendant owns and operates a free internet image

 24 II    search service, the "ArribaVista Image Searcher," which locates

 2511     visual         images      and          photographs         on      the      internet

 26 II    ( "www. arribavista. com") .        The image service engine is part of

 27 II    defendant's overall marketing effort for                    "Arriba Express," an

 2811     image file and storage system which incorporates software that

                                                      5
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   111    will collect or                   11
                                                 vacuum 11 all images from a targeted web site.

  2 II                15.                  Plaintiff            is   informed and believes,            and based

   311    thereon alleges,                       that defendant's image search engine and the

  4 II    software were intentionally and knowingly designed to search web

   511    sites for only graphics files and to ignore any related copyright

   611    management information posted on the owner's web site.

   7 II               16.                  Plaintiff            is   informed and believes,            and based

   811    thereon alleges,                       that images which are vacuumed from other web

   911    sites are copied and saved on defendant's www.arribavista.com web

 10 II    site into a            11
                                      database 11 which gives each vacuumed picture a new

 1111     identification                   number.               This       information    does    not     include

 12 II    copyright management information located on the image's original
 1311     web site.

 14                   17.              The             images    vacuumed       from   other     web   sites   and
 15       copied to defendant's www.arribavista.com web site are                                         displayed

 16       as   11
                    thumbnail 11           copies which users                  can download to         their own
 17       computers using the free image search engine by simply right-
 18       clicking          on        the         mouse     button.            Plaintiff    is    informed     and

 19       believes,         and based thereon alleges,                           that during the relevant
 20       time       period           if         the    user purchases          defendant's       software,    the
 21       images can be downloaded into the Arriba Express media management
 22       product on the user's computer by clicking a button located on
 23       the search results page.                               Users are therefore able to download
 24       plaintiff's photographs without gaining access to plaintiff's web

 25       site.        Thus, both the ArribaVista search engine and the                                    Arriba
 26       Express software product enable users to rapidly capture, view,
 27       edit, organize and re-use media files without permission from or
 28       compensation to plaintiff or other copyright owners.

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   1                18.          Plaintiff is informed and believes,                            and based
  2 II    thereon alleges, that the "thumbnail" copies provide a means to

   3 II   "deep link" into the web site of plaintiff, and other copyright

  4 II    owners,     thus    bypassing             banner       advertising,       links,      and    other

   511    promotional or proprietary information provided by plaintiff.

   611              19.        Further, plaintiff is informed and believes, and

   7 II   based     thereon    alleges,             that     defendant        "frames"         the     images

   811    belonging to plaintiff, and other copyright owners, with banner

   9      advertising,        links           and     other        promotional       or        proprietary
 10       information        which       is     provided          by     defendant       and    for    which
 1111     plaintiff receives no remuneration.
 12                 20.        In    or        about       January        1999,     in    violation         of
 13       plaintiff's        copyright          notices,           defendant        vacuumed         various
 1411     photographs from plaintiff's web sites and posted them on its

 1511     www.arribavista.com             web        site.         The     images    were       stored      as

 1611     individual "jpg" files,               identified with a specific file number

 1711     and     surrounded        by    banner        advertising.              Defendant           removed

 1811     plaintiff's copyright management information relating to these

 1911     images.     A list plaintiff's copyrighted images is attached hereto
 20       as Exhibit "1."           Plaintiff is informed and believes, and based
 21       thereon     alleges,       that       unauthorized           copying      of    a    substantial
 22       portion of the images identified on Exhibit 1 were done by or at
 23       the direction of defendant.

 24                 21.        Plaintiff is the sole owner of all rights, title,
 25       and interest in and to the copyright in the images identified on
 26       Exhibit 1.      Other than the licensing of some rights in the images
 27       as    described     above,          plaintiff          has     exclusive       rights       in   the
 28       copyrighted images.

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   1               22.          Defendant's copying and posting of plaintiff's

  2 II    copyrighted images on defendant's www. arribavista. com web site is

  3 II    wholly unauthorized and without the actual or implied permission

  411     of plaintiff, the copyright owner in the subject images.
   511             23.          On February 1, 1999, plaintiff sent a letter to

   611    defendant demanding compensation for defendant's infringing use

   7 II   of plaintiff's images.                Plaintiff has also notified defendant

   811    that it had infringed plaintiff's copyright and demanded that

   911    defendant      stop      posting           plaintiff's            images    on   defendant's
 lOll     www.arribavista.com web site.

 11 II             24.          Defendant has refused to compensate plaintiff for

 12 II    its     infringing actions            as    demanded.             In addition,      defendant

 1311     continues      to     maintain         unauthorized               copies    of   plaintiff's

 1411     copyrighted         images      and        to    make       them     available      for     free

 15 II    downloading         to    the        public           by    displaying       them    on      the

 1611     www.arribavista.com web site.
 17                25.          Defendant's use of plaintiff's copyrighted images
 18       has     been   done      for    commercial             purposes      and    economic       gain.
 19       Defendant      has,      in     fact,           financially         benefitted      from     the
 20       unauthorized use           of plaintiff's copyrighted images that have
 2111     been,    and   continue         to    be,       used       in   conscious    disregard       for

 22       plaintiff's copyright in the images.

 23                                      FIRST CLAIM FOR RELIEF

 2411                                    [COPYRIGHT INFRINGEMENT]

 25                26.          Plaintiff        realleges            and    incorporates     each     and
 2611     every allegation contained in paragraphs 8 through 25, as though
 2711     fully set forth herein.

 28 II    I I I

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   1             27.           Plaintiff has complied in all respects with the

   2      Copyright Act,        and all other laws governing copyright, and has

   3      secured exclusive          rights        and privileges             in and     to     the

   4      copyright of the images.

   5             28.           Subsequent to plaintiff's creation of the images,

   6      and with      full   knowledge     of    the    right      of   plaintiff      therein,

   7      defendants infringed plaintiff's copyrights by copying the images

   8      into   defendant's         database,       posting          them    on      defendant's

   9      www.arribavista.com web site, removing all copyright management

  10      information related to the images,                    and facilitating the free

  11      download to users'         computers      in promotion of defendant's own

  12      interests without plaintiff's permission as copyright holder.

  13             29.           Defendant's        acts    were       performed       without     the

  1411    permission, license or consent of plaintiff.

  15             30.           Plaintiff has notified defendant that defendants

  16      has infringed the copyright of plaintiff, yet defendant continues

  1711    to infringe the copyright.

  18 II          31.           Unless   restrained             and   enjoined,        defendant's

  19 II   acts   of     copyright    infringement         as    alleged      above    will     cause

  2011    plaintiff irreparable injury.

  2111           32.           By   reason    of    its    infringement        of     plaintiff's

  2211    copyrights alleged above,           defendant is liable to plaintiff for

  23 II   the actual damages         incurred by plaintiff as a                  result of the

  24 II   infringement and any additional profits of defendant attributable

  2511    to such infringement.         Said damages are in an amount which is not

  2611    yet fully ascertainable, but which is estimated to be not less

  2711    than two hundred and fifty thousand dollars ($250,000).

  2811            33.          Defendant's acts as alleged above were willful as

                                                     9
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       111    defined in Section 504(c) (2)            of the Copyright Act,               17 U.S.C.,
       2 II   §504 (c) (2).

       311            34.        By reason of the foregoing, plaintiff is entitled

       411    to   enhanced     statutory      damages       of    up     to    $100,000       for     each
       511    infringement.

       6 II           35.        Plaintiff has incurred, and will continue to incur

       711    attorney's      fees    and    court   costs        arising       from     the    acts    of

       8 II   defendant as alleged herein.           Plaintiff seeks the recovery of his

       9      attorney's fees as the prevailing party in this action.

      10                                        SECOND CLAIM

      1111              [VIOLATION OF DIGITAL MILLENNIUM COPYRIGHT ACT]

      12              36.        Plaintiff      realleges          and    incorporates         each    and
      13      every allegation contained in paragraphs 8 through 35, as though
      14      fully set forth herein.

      15              37.        Plaintiff's         web          sites        include     "copyright
      16      management information" as that term is defined in the Digital
      17      Millennium Copyright Act, 17 U.S.C. section 1202(c).
      18              38.        Defendant has intentionally and knowingly removed
      19      plaintiff's      copyright     management           information      associated         with
      20      plaintiff's images and service mark without authorization from
      21      plaintiff,      the copyright owner thereto, by copying plaintiff's
      22      copyrighted        images       and      service           mark     to      defendant's
      23      www.arribavista.com web site with its image service engine.
      24              39.        Defendant knew, or reasonably should have known,
      25      that removal of plaintiff's copyright management information from
      26      images copied to and posted on its www.arribavista.com web site
      27      so that users could download them directly from defendant's web
      28      site   database        would   induce,     enable,          facilitate      or     conceal

                                                        10
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   1        infringement of plaintiff's copyrights by defendant and by the
   2        users of defendant's search engine and software.

   3              40.       By reason of the foregoing acts,               defendant has
   4        violated the Digital       Millennium Copyright Act        to plaintiff's
   5        irreparable harm.

   6              41.       Defendant's conduct will continue to cause further

   7 II     irreparable   harm to plaintiff          unless    and until    defendant    is
   811      enjoined by this Court.

   911            42.       By    reason   of   its    infringement    of    plaintiff's

  lOll      copyrights alleged above,       defendant is liable to plaintiff for

  1111      the actual damages incurred         by     plaintiff as a result of the

  12 II     infringement and any additional profits of defendant attributable

  13 II     to such infringement.      Said damages are in an amount which is not

  1411      yet fully ascertainable, but which is estimated to be not less

  15        than two hundred and fifty thousand dollars ($250,000) .

  16              43.       By    reason   of   its    infringement    of    plaintiff's

  1711      copyrights alleged above,       defendant is liable to plaintiff for

  18        costs and reasonable attorney's fees.

  19                                       THIRD CLAIM

  20   II                 [UNFAIR COMPETITION UNDER FEDERAL LAW]

  21              44.       Plaintiff      realleges     and    incorporates   each     and

  22 II     every allegation contained in paragraphs 1 through 43, as though
  23        fully set forth herein.

  24              45.       Defendant's     wilful      and deliberate      unauthorized
  25 II     copying   and use    of   Plaintiff's     service mark and copyrighted

  2611      images on its www.arribavista.com web site has resulted in users

  2711      being able to download plaintiff's copyrighted images for free

  28 II     and without   plaintiff's      authorization,       and without    directing

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   111    users to plaintiff's web sites so that they could be informed of

   2 II   plaintiff's      copyrights and given the              opportunity to purchase

   3 II   plaintiff's books and corporate retreats which he sells                          from

   4 II   those   web     sites.      Defendant's      action     of   "deep    linking"    and

   5 II   "framing" as alleged herein has directed potential consumers from

   611    viewing       banner     advertising,     links       and    other    material     on

   711    plaintiff's web site.

   8              46.         By reason of the foregoing acts,                 defendant has

   911    engaged in unfair competition and unfair trade practices against

  10 II   plaintiff to plaintiff's irreparable harm in violation of section
  1111    43(a) of the Lanham Act.

  12 II           47.         Defendant's conduct will continue to cause further

  13 II   irreparable      harm to plaintiff           unless    and until      defendant    is

  1411    enjoined by this Court.

  15              48 .        By    reason   of   its    infringement      of    plaintiff's
  16      copyrights alleged above,           defendant is liable to plaintiff for

  1711    the actual damages incurred             by     plaintiff as a result of the

  18 II   infringement and any additional profits of defendant attributable

  1911    to such infringement.         Said damages are in an amount which is not

  2011    yet fully ascertainable, but which is estimated to be not less

  21      than two hundred and fifty thousand dollars ($250,000).

  22              49.         By    reason   of   its    infringement      of    plaintiff's

  2311    copyrights alleged above,          defendant is liable to plaintiff for

  24      costs and attorney's fees.

  25                                         FOURTH CLAIM

  2611                             [STATE LAW UNFAIR COMPETITION]

  27              50.         Plaintiff      realleges     and    incorporates      each    and

  2811    every allegation contained in paragraphs 1 through 43, as though

                                                  12
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   111         fully set forth herein.
   2                     51.           Defendant • s   wilful      and deliberate                   unauthorized

   3           copying and use              of plaintiff • s      service mark and copyrighted

   4           images on its www.arribavista.com web site has resulted in users

   5           being able to download plaintiff's copyrighted images for free

   6           and without           plaintiff • s    authorization,        and without                 directing

   7           users to plaintiff's web sites so that they could be informed of

   8           plaintiff • s      copyrights and given the opportunity to purchase

   9           plaintiff • s      books and corporate retreats which he sells from

  10           those     web     sites.        Defendant • s     action    of       11
                                                                                         deep       linking 11   and

  11           11
                    framing 11 as alleged herein has directed potential consumers from

  12           viewing         banner       advertising,       links      and       other           material      on

  13           plaintiff's web site .

  14                     52.           By reason of the foregoing acts,                         defendant has

  15           engaged in unfair competition and unfair trade practices against

  16           plaintiff        to     plaintiff's      irreparable         harm          in    violation         of

  17           California Business and Professions Code                         §        17200 et seq.           and

  18           under the common law.

  19                     53 .          Defendant • s conduct will continue to cause further

  20 II        irreparable        harm to plaintiff              unless    and until                defendant     is

  2111         enjoined by this Court.

  22                     54 .          By    reason    of   its    infringement                of     plaintiff's

  23           copyrights alleged above,               defendant is liable to plaintiff for

  2411         the actual damages incurred                  by     plaintiff as a result of the

  2511         infringement and any additional profits of defendant attributable

  2611         to such infringement.             Said damages are in an amount which is not

  2711         yet fully ascertainable, but which is estimated to be not less

  2811         than two hundred and fifty thousand dollars                               ($250,000) .

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   1              55 .      By   reason   of    its   infringement    of   plaintiff's

   2      copyrights alleged above,        defendant is liable to plaintiff for

   3      costs and attorney's fees.

   4                                      FIFTH CLAIM

   5                                [DECLARATORY RELIEF]

   6              56.       Plaintiff     realleges    and   incorporates    each   and

   711    every allegation contained in paragraphs 8 through 22, as though

   811    fully set forth herein.

   9 II           57.       There exists at all times mentioned herein,              an

  lOll    actual and present controversy with respect to the rights and

  1111    liabilities of the parties concerning whether, and to the extent,

  12 II   defendant has violated both federal and state laws pertaining to

  1311    plaintiff's copyrighted images as described above.

  1411            58.       Plaintiff hereby seeks a determination from the

  15 II   Court   that   defendant's    use    of plaintiff's    copyrighted images

  16      constitutes copyright infringement and unfair competition.

  17                                   PRAYER FOR RELIEF

  1811            WHEREFORE, Plaintiff prays for judgment against Defendant

  19 II   as follows:

  20              1.        That   defendant     be   adjudged   to   have   infringed

  2111    plaintiff's copyrights in violation of United States copyright

  2211    laws, 17 U.S.C. section 100 et. seq.

  23 II           2.        That   defendant     be   adjudged   to   have   infringed

  24 II   plaintiff's copyrights in violation of the Digital Millennium

  25      Copyright Act, 17 U.S.C. section 1200 et. seq.

  26              3.        That   defendant     be   adjudged   to   have    violated

  2711    section 43 of the Lanham Act by engaging in unfair competition

  2811    and unfair trade practices.

                                                14
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   1            4.           That   defendant     be    adjudged    to    have     violated
   2      California Business and Professions Code              §   17200 and to have

   311    engaged in common law unfair competition under the laws of the
   411    State of California.

   5 II         5.           That defendant,      its officers,     agents,       servants,

   611    employees and attorneys, and all those persons in active concert

   7 II   or participation with those who receive actual notice of the

   811    injunction    by   personal    service       or   otherwise,     be     forthwith

   9      preliminarily and thereafter permanently enjoined from:

  10                         a.     copying plaintiff's       images,      including his

  1111    service    mark,    to    defendant's      www.arribavista.com         web     site

  1211    database and displaying said images on the web site or on any

  1311    other web site defendant may now have or later create;

  14 II                      b.      otherwise       infringing     upon        plaintiff's
  15 II   copyrights;

  16                         c.     unfairly    competing    with   plaintiff       in   any
  17      manner whatsoever;

  18            6.           That defendant be directed to file with this Court

  1911    and serve on plaintiff within thirty (30) days after the service

  2011    of the injunction, a report in writing, under oath, setting forth

  2111    in detail the manner and form in which defendant has complied
  2211    with the injunction;

  23 II         7.           That defendant be required to account to plaintiff

  2411    for any and all profits derived by defendant,                  and all damages

  2511    sustained by plaintiff, by reason of defendant's acts complained
  2611    of herein;

  27            8.           That defendant be ordered to pay over to plaintiff

  2811    all damages which plaintiff has sustained as a consequence of

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          .·                              ~.

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   111         defendant's acts complained of herein, subject to proof at trial,

   2 II        and that plaintiff be awarded defendant's profits derived by

   3 II        reason of said acts, or as determined by said accounting, or, in

   411         the alternative, that plaintiff be awarded statutory damages as

   511         determined by the Court;

   6                 9.         That defendant be ordered to delete plaintiff's

   711         images from its database and web sites;

   811               10.        That plaintiff be awarded its costs, expenses and

   911         attorneys' fees;

  10 II              11.        That plaintiff be awarded pre-judgment interest;

  1111         and

  12                 12.        That plaintiff be awarded such other and further

  1311         relief as the Court deems just and proper.

  14           Dated: 3-31-99                  THE            .W FIRM

  15

  16                                           By:
                                                     Steven L. Krongold
  17                                                 Attorneys for plaintiff
                                                     LESLIE A. KELLY
  18

  19                                  DEMAND FOR JURY TRIAL

  20                 Pursuant to Federal Rule of Civil Procedure 38, plaintiff

  2111         hereby demands a    jury trial of any issues    in this action so

  22 II        triable.

  23           Dated: 3-31-99                  THE
  24

  25                                           By:
                                                     Steven L. Krongold
  26                                                 Attorneys for plaintiff
                                                     LESLIE A. KELLY
  27

  28

                                               16
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  SMTGPanner                          4,591,053                1/24/99
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  CGRC Leslie A. Kelly                4,682,691                1/27/99
  CGRC Way West Map                   4,682,692                1/27/99
  CGRC Ne Covered Wagon               4,682,693                1127/99
  CGRC JJ Hughesllndep Rock           4,687,766                1/27/99
  CGRC Deep Ruts Hill                 4,688,396                1/27/99
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  CGRC Platte River Sunset            4,688,399                1127/99
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  CGRC South Pass                  4,689,908                  1/27/99
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  LIW Ingalls House                4,691 ,082                 1130/99
  LIW Homestead/Harper             4,700,238                  1/30/99
  LIW Erin/Surveyors ' House       4,730,156                  1/30/99
  LIW Ingalls House                4,730,185                  1/31199
  SMTG American Riv Poppy          4,753,570                  1/31199
  SMTG Gold Panner                 4,753,571                  1131199
  CGRC Courthouse/Jailhouse        4,779,180                  1/31199
  CGRC South Pass                  4,779,181                  1/31199
  CGRC Platte River Sunset         4,779,182                . 1/31/99
  CGRC Deep Ruts Hill              4,779,184                  1/30/99
  CGRC JJ Hughes/Indep Rock        4,779,185                  1130/99
  CGRC Fort Hall Replica           4,779,187                  1/31/99
  CGRC 40 Mile Desert              4,779,188                  1131/99
  CGRC Hotel Jeffery               4,779,198                  1131/99
  CGRC Jimtown 1849                4,779,200                  1130/99
  CGRC S F Trolley/Tall Ships      4,779,203                  1131/99
  CGRC Nebraska Sunset             4,779,204                    1130
  CGRC Mariposa Nuggett            4,779,205                  1131199
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  CGRC Wine Caskets                4,779,207                  1130/99
  CGRC Malakoff Diggins            4,779,208                  1130/99
  CGRC Leslie A. Kelly             4,779,224                  1/31/99
  CGRC Coloma/American Riv         4,779,231                  1130/99
  CGRC Back Cov/Stagecoach         4,779,240                    1/30
  CGRC Ne Covered Wagon            4,779,241                  1130/99
  CGRC Carson River                4,779,245                  1/30/99
  LIW Ingalls House/Cover          5,220,447                  2/19/99
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  LIW Silverlake Snow Scene        5,310,428                  2/19/99
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